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                     IN THE U.S. DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
SECURITIES AND EXCHANGE       :
COMMISSION,                   :
                              :
        Plaintiff,            :
                              :
    V.                        :               Civil Action No. 1:16-cv-02459-SCJ
                              :
THOMAS W. AVENT, Jr.,         :
RAYMOND J. PIRRELLO, Jr., and :
LAWRENCE J. PENNA,            :
                              :
        Defendants.           :


      FINAL JUDGMENT AS TO DEFENDANT LAWRENCE J. PENNA

      The Securities and Exchange Commission having filed a Complaint and

Defendant Lawrence J. Penna having entered a general appearance; consented to

the Court’s jurisdiction over Defendant and the subject matter of this action;

consented to entry of this Final Judgment without admitting or denying the

allegations of the Complaint (except as to jurisdiction and except as otherwise

provided herein in paragraph IV); waived findings of fact and conclusions of

law; and waived any right to appeal from this Final Judgment:

                                         I.

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 14(e) of the

Securities Exchange Act of 1934 [15 U.S.C. § 78n(e)] and Rule 14e-3 [17 C.F.R.
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§ 240.14e-3] promulgated thereunder, in connection with any tender offer or

request or invitation for tenders, from engaging in any fraudulent, deceptive, or

manipulative act or practice, by:

            (a)    purchasing or selling or causing to be purchased or sold the
                   securities sought or to be sought in such tender offer,
                   securities convertible into or exchangeable for any such
                   securities or any option or right to obtain or dispose of any of
                   the foregoing securities while in possession of material
                   information relating to such tender offer that Defendant
                   knows or has reason to know is nonpublic and knows or has
                   reason to know has been acquired directly or indirectly from
                   the offering person; the issuer of the securities sought or to be
                   sought by such tender offer; or any officer, director, partner,
                   employee or other person acting on behalf of the offering
                   person or such issuer, unless within a reasonable time prior to
                   any such purchase or sale such information and its source are
                   publicly disclosed by press release or otherwise; or

            (b)    communicating material, nonpublic information relating to a
                   tender offer, which Defendant knows or has reason to know is
                   nonpublic and knows or has reason to know has been
                   acquired directly or indirectly from the offering person; the
                   issuer of the securities sought or to be sought by such tender
                   offer; or any officer, director, partner, employee, advisor, or
                   other person acting on behalf of the offering person of such
                   issuer, to any person under circumstances in which it is
                   reasonably foreseeable that such communication is likely to
                   result in the purchase or sale of securities in the manner
                   described in subparagraph (a) above, except that this
                   paragraph shall not apply to a communication made in good
                   faith

                         (i)    to the officers, directors, partners or employees of
                                the offering person, to its advisors or to other
                                persons, involved in the planning, financing,
                                preparation or execution of such tender offer;
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                          (ii)    to the issuer whose securities are sought or to be
                                  sought by such tender offer, to its officers,
                                  directors, partners, employees or advisors or to
                                  other persons involved in the planning, financing,
                                  preparation or execution of the activities of the
                                  issuer with respect to such tender offer; or

                          (iii)   to any person pursuant to a requirement of any
                                  statute or rule or regulation promulgated
                                  thereunder.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph

also binds the following who receive actual notice of this Final Judgment by

personal service or otherwise: (a) Defendant’s agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

                                          II.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is liable for disgorgement of $79,922.00, representing profits gained as a result of

the conduct alleged in the Complaint, together with prejudgment interest

thereon in the amount of $11,766.39, and a civil penalty in the amount of

$79,922.00 pursuant to Section 21A of the Exchange Act [15 U.S.C. § 78u-1].

Defendant shall satisfy this obligation by paying $171,610.39 to the Securities and

Exchange Commission pursuant to the terms of the payment schedule set forth

in paragraph III below after entry of this Final Judgment.
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       Defendant may transmit payment electronically to the Commission,

which will provide detailed ACH transfer/Fedwire instructions upon request.

Payment may also be made directly from a bank account via Pay.gov through the

SEC website at http://www.sec.gov/about/offices/ofm.htm. Defendant may

also pay by certified check, bank cashier’s check, or United States postal money

order payable to the Securities and Exchange Commission, which shall be

delivered or mailed to:

      Enterprise Services Center
      Accounts Receivable Branch
      6500 South MacArthur Boulevard
      Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action

number, and name of this Court; Lawrence J. Penna, as a defendant in this action;

and specifying that payment is made pursuant to this Final Judgment.

      Defendant shall simultaneously transmit photocopies of evidence of

payment and case identifying information to the Commission’s counsel in this

action. By making this payment, Defendant relinquishes all legal and equitable

right, title, and interest in such funds and no part of the funds shall be returned

to Defendant. The Commission shall send the funds paid pursuant to this Final

Judgment to the United States Treasury.

      The Commission may enforce the Court’s judgment for disgorgement and

prejudgment interest by moving for civil contempt (and/or through other
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collection procedures authorized by law) at any time after 14 days following

entry of this Final Judgment. Defendant shall pay post judgment interest on any

delinquent amounts pursuant to 28 U.S.C. § 1961.

                                        III.

      Lawrence J. Penna shall pay the total of disgorgement, prejudgment

interest, and penalty due of $171,610.39 in four installments to the Commission

according to the following schedule: (1) $42,902.60 within 10 days of entry of this

Final Judgment; (2) $42,902.60 no later than January 2, 2017, plus post-judgment

interest pursuant to 28 U.S.C. § 1961; (3) $42,902.60 no later than May 1, 2017,

plus post-judgment interest pursuant to 28 U.S.C. § 1961; and (4) $42,902.59 no

later than September 1, 2017, plus post-judgment interest pursuant to 28 U.S.C. §

1961. Payments shall be deemed made on the date they are received by the

Commission and shall be applied first to post judgment interest, which accrues

pursuant to 28 U.S.C. § 1961 on any unpaid amounts due after 14 days of the

entry of Final Judgment. Prior to making the final payment set forth herein,

Lawrence J. Penna shall contact the staff of the Commission for the amount due

for the final payment.

      If Lawrence J. Penna fails to make any payment by the date agreed and/or

in the amount agreed according to the schedule set forth above, all outstanding

payments under this Final Judgment, including post-judgment interest, minus
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any payments made, shall become due and payable immediately at the discretion

of the staff of the Commission without further application to the Court.

                                        IV.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth

herein, and that Defendant shall comply with all of the undertakings and

agreements set forth therein.

                                         V.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for

purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy

Code, 11 U.S.C. §523, the allegations in the complaint are true and admitted by

Defendant, and further, any debt for disgorgement, prejudgment interest, civil

penalty or other amounts due by Defendant under this Final Judgment or any

other judgment, order, consent order, decree or settlement agreement entered in

connection with this proceeding, is a debt for the violation by Defendant of the

federal securities laws or any regulation or order issued under such laws, as set

forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).
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                                         VI.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court

shall retain jurisdiction of this matter for the purposes of enforcing the terms of

this Final Judgment.

                                         VII.

      There being no just reason for delay, pursuant to Rule 54(b) of the Federal

Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment

forthwith and without further notice.



Dated: ______________,
        October 25     2016

                                        ____________________________________
                                         s/Steve C. Jones
                                        STEVE C. JONES
                                        UNITED STATES DISTRICT JUDGE
